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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                    Tampa Division

                                                               Case No.:

JENNIFER L. KNEELAND,

         Plaintiff,

v.

CHARTER COMMUNICATIONS HOLDINGS, LLC
d/b/a Charter Spectrum f/k/a Bright House Networks,

         Defendant.
                                                       /

                                        COMPLAINT
                                       JURY DEMAND

        1.       Plaintiff, Jennifer L. Kneeland (hereinafter “Plaintiff”), alleges violations of

the Florida Consumer Collection Practices Act, Fla. Stat. § 559, et seq. (hereinafter

“FCCPA”), and the Telephone Consumer Protection Act, 47 U.S.C § 227, et seq. (hereinafter

“TCPA”) against Defendant, Charter Communications Holdings, LLC d/b/a Charter

Spectrum f/k/a Bright House Networks (hereinafter “Defendant”), and states the following in

support thereof:

                                JURISDICTION AND VENUE

        2.       This Court has jurisdiction under 28 U.S.C. §§ 1331, 1337 and 15 U.S.C. §

1692k. Supplemental jurisdiction exists for Plaintiff’s FCCPA claim pursuant to 28 U.S.C. §

1367.

        3.        Venue in this District is proper under 28 U.S.C. § 1391 because Plaintiff

resides here and Defendant placed telephone calls into this District.




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      4.       Defendant’s communications with Plaintiff in connection with the collection

of a consumer debt in Florida, made it foreseeable that Defendant would be haled into a

Florida Court. See Burger King Corp. v. Rudzewicz, 471 U.S. 462, 474 (1985).

                                         PARTIES

      5.       Plaintiff is a natural person, and citizen of the State of Florida, residing in

Hillsborough County, Florida.

      6.       At all times relevant herein, Plaintiff was a “debtor” or “consumer” as defined

by Florida Statute § 559.55(8).

      7.       Plaintiff is the regular user of the cellular telephone and cellular telephone

number at issue, (508) *** - 4319.

      8.       Plaintiff was the “called party” and recipient of the Defendant’s hereinafter

described calls. See Soppet v. Enhanced Recovery Co., LLC, 670 F.3d 637, 643 (7th Cir.

2012), reh’g denied (May 25, 2012); see also Osorio v. State Farm Bank, F.S.B., 746 F.3d

1242 (11th Cir. 2014).

      9.       Defendant is a foreign limited liability company whose principle office is

located at 12405 Powers Court Drive, St. Louis, Missouri 63131 and whose registered agent

for service of process in the state of Florida is Corporation Service Company, 1201 Hays

Street, Tallahassee, FL 32301.

      10.      At all times relevant herein, Defendant was a “person” as defined by the

FCCPA. See Williams v. Streeps Music Co., 333 So. 2d 65, 67 (Fla. Dist. Ct. App. 1976).

                   FACTUAL ALLEGATIONS SPECIFIC TO PLAINTIFF

      11.      Defendant attempted to collect an alleged debt arising from transactions

primarily incurred for personal, family or household purposes from Plaintiff.




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      12.       Specifically, Defendant placed telephone calls to Plaintiff’s cellular telephone

in an attempt to collect a debt concerning cable television services.

      13.       The aforementioned debt is a “consumer debt” as defined by Florida Statute §

559.55(6).

      14.       As described herein, Defendant employed business practices resulting in

intentional harassment and abuse of Plaintiff and engaged in a pattern of harassing conduct,

by and through its agents and representatives, in an effort to collect a consumer debt.

      15.       Defendant intentionally called Plaintiffs’ cellular telephone with such

frequency as can reasonably be expected to harass, in an effort to collect a consumer debt.

      16.       In or about January of 2017, Plaintiff answered an incoming telephone call

from Defendant and explained to a representative of Defendant’s that she would like the

subject telephone calls to cease.

      17.       Defendant used an automatic telephone dialing system or a pre- recorded or

artificial voice to place telephone calls to Plaintiff’s cellular telephone.

      18.       Upon answering many of these telephone calls, Plaintiff was greeted either by

an automated machine-operated voice message or a noticeable period of “dead air” while the

Defendant’s telephone system attempted to connect to a live telephone employee.

      19.       The prerecorded messages left on Plaintiff’s voice mail system allowed

Plaintiff to conclude that the subject telephone calls were from the Defendant and were made

using an automatic dialing system or an artificial or prerecorded voice.

      20.       Defendant’s method of contacting Plaintiff is indicative of its ability to dial

numbers without any human intervention, which the FCC has opined is the hallmark of an

automatic telephone dialing system. See In the Matter of Rules & Regulations Implementing




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the Telephone Consumer Protection Act of 2008, 23 F.C.C.R. 559, 565-66 (2008); In the

Matter of Rules & Regulations Implementing the Telephone Consumer Protection Act o

1991, 18 F.C.C.R. 14014, 14091-92 (2003).

      21.         After Plaintiff asked for the telephone calls to cease, Defendant did not have

express consent to call Plaintiff’s cellular telephone. See 23 F.C.C.R. at 559 (¶ 1) (holding

that a person provides express consent to receive autodialed or prerecorded debt collection

calls by providing his or her cellular telephone number to a creditor in connection with an

existing debt).

      22.         During the January 2017 communication, Plaintiff unequivocally revoked any

express consent Defendant may have had for the placement of telephone calls to Plaintiff’s

cellular telephone number by the use of an automatic telephone dialing system or a pre-

recorded or artificial voice.

      23.         Each and every call subsequent to the first revocation that Defendant made to

the Plaintiff’s cellular telephone number was done so without the express consent of the

Plaintiff.

      24.         Each and every call subsequent to the first revocation that Defendant made to

the Plaintiff’s cellular telephone number was knowing and willful.

      25.         Despite actual knowledge of their wrongdoing, Defendant continued the

campaign of abuse, calling the Plaintiff despite Plaintiff having revoked any express consent

Defendant may have had to call her cellular telephone number.

      26.         Plaintiff’s damages were caused by and directly related to Defendant’s

attempts to collect a debt by using an automatic telephone dialing system or predictive dialer

to call Plaintiff’s cellular telephone.




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      27.      From each and every call placed without express consent by Defendant to

Plaintiff’s cell phone, Plaintiff suffered the injury of invasion of privacy and the intrusion

upon the right of seclusion.

      28.      From each and every call without express consent placed by Defendant to

Plaintiff’s cell phone, Plaintiff suffered the injury of the occupation of her cellular telephone

line and cellular phone by unwelcome calls, making the phone unavailable for legitimate

callers or outgoing calls while the phone was ringing from Defendant’s call.

      29.      From each and every call placed without express consent by Defendant to

Plaintiff’s cell phone, Plaintiff suffered the injury of unnecessary expenditure of her time.

      30.      Specifically, Plaintiff had to waste her time dealing with missed call

notifications and call logs that reflect the unwanted calls. This also impaired the usefulness of

these features of Plaintiff’s cellular phone, which are designed to inform the user of

important missed communications.

      31.      Each and every call placed without express consent by Defendant to

Plaintiff’s cell phone was an injury in the form of a nuisance and annoyance to the Plaintiff.

For calls that were answered, Plaintiff had to go to the unnecessary trouble of answering

them. For unanswered calls, Plaintiff had to deal with missed call notifications and call logs

that reflected the unwanted calls.

      32.      Each and every call placed without express consent by Defendant to

Plaintiff’s cell phone resulted in the injury of unnecessary expenditure of Plaintiff’s cell

phone’s battery power.




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      33.      Each and every call placed without express consent by Defendant to

Plaintiff’s cell phone resulted in the injury of a trespass to Plaintiff’s chattel, namely her

cellular phone and her cellular phone services.

      34.      As a result of the calls described above, Plaintiff suffered an invasion of

privacy. Plaintiff was also affect in a personal and individualized way by stress, anxiety,

nervousness, embarrassment, distress and aggravation.

      35.      Defendant’s corporate policy is structured so as to continue to call individuals

like Plaintiff, despite these individuals explaining to Defendant they do not wish to be called.

      36.      Defendant’s corporate policy provided no means for Plaintiff to have

Plaintiff’s number removed from Defendant’s call list.

      37.      None of Defendant’s telephone calls placed to Plaintiff were for “emergency

purposes” as specified in 47 U.S.C. §227(b)(1)(a).

                                         COUNT I
               (Violation of the Florida Consumer Collection Practices Act)

      38.      Plaintiff incorporates paragraphs 1 through 37 as if fully set forth herein.

      39.      Consumer protection statutes are remedial in nature and should be liberally

construed in favor of the public. See Samara Dev. Corp. v. Marlow, 556 So. 2d 1097, 1100

(Fla. 1990).

      40.      At all times relevant to this action Defendant is subject to and must abide by

the law of Florida, including § 559.72, Florida Statutes.

      41.      Defendant engaged in an act or omission prohibited under Florida Statute

§559.72(7), by willfully communicating with the Plaintiff or any member of her family with

such frequency as can reasonably be expected to harass the Plaintiff.




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        WHEREFORE, Plaintiff requests that the Court enter judgment in favor of Plaintiff

and against Defendant for statutory damages, actual damages, punitive damages, attorney’s

fees, litigation expenses and costs of suit, and such further relief as the Court deems proper.

                                             COUNT II
                      (Violations of the Telephone Consumer Protection Act)

      42.       Plaintiff incorporates paragraphs 1 through 37 as if fully set forth herein.

      43.       Defendant placed non-emergency telephone calls to Plaintiff’s cellular

telephone using an automatic telephone dialing system or a pre-recorded or artificial voice

without consent in violation of 47 U.S.C. § 227(b)(1)(A)(iii).

      44.       Defendant knowingly or willfully called Plaintiff’s cellular telephone using an

automatic telephone dialing system or a pre-recorded or artificial voice after Plaintiff asked

for the subject calls to cease.

        WHEREFORE, Plaintiff requests that the Court enter judgment in favor of Plaintiff

and against Defendant for $500.00 dollars in statutory damages for each violation of the

TCPA over the last four years, $1,500.00 dollars in statutory damages for each knowing or

willful violation of the TCPA over the last four years, a declaration that Defendant’s calls

violated the TCPA, a permanent injunction prohibiting Defendant from placing non-

emergency calls to the cellular telephone of Plaintiff using an automatic telephone dialing

system or pre- recorded or artificial voice, litigation expenses and costs of the instant lawsuit;

and, such further relief as this Court deems proper.

                                           JURY DEMAND
        Plaintiff demands trial by jury.

                                                       Respectfully submitted,

                                                       By:/s/ Christopher Legg
                                                       Christopher Legg, Esq.


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